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                                                                         September 17, 2019


   BYECF

   The Honorable Loma G. Schofield
   United States District Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

                  Re:      Jane Doe, et al. v. The Trump Corporation, et al., 18-cv-09936 (LGS)

   Dear Judge Schofield:

          We write on behalf of Plaintiffs in response to Defendants' letter of this afternoon.

          Our response to Defendants' request is set forth in the letter we sent Defendants on
   September 12, 2019, a copy of which is attached hereto. As stated in that letter, we will, of course,
   follow the Court's guidance in this matter. We do respectfully request that the private medical
   information relating to Mr. Quinn's family remain redacted.




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